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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA                         )
                                                 )
        Plaintiff,                               )
                                                 )
vs.                                              )        No. ___ -cr-__________-SMY
                                                 )
________________________,                        )
                                                 )
        Defendant.                               )


        DEFENDANT’S NOTICE REGARDING VIDEO TELECONFERENCE

        COMES NOW Defendant _____________, by and through counsel, and hereby notifies

 the Court of the following:

 1.      Counsel conferred with Defendant and explained Defendant’s right to be physically
 present at, among other proceedings, change of plea hearings (Federal Rule of Criminal
 Procedure 11), sentencings (Federal Rule of Criminal Procedure 32), and probation/supervised
 release revocation hearings (Federal Rule of Criminal Procedure 32.1).

 2.     Defendant respectfully states:

                Defendant will consent to a video teleconferencing hearing and requests the
                Court to schedule a hearing as soon as possible.

                Defendant requests a hearing in open court and requests the hearing be
                scheduled without unnecessary delay.

                                                      Respectfully submitted,



Date:
                                                     Attorney for Defendant
